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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


                                                            Case No. 19-cv-02863
                                                            (WMW/KMM)

IN RE RESIDEO TECHNOLOGIES, INC.
                                                            [PROPOSED] ORDER TO
SECURITIES LITIGATION
                                                            EXTEND BRIEFING
                                                            SCHEDULE DEADLINES
                                                            AND INCREASE WORD
                                                            LIMIT FOR BRIEFING


         Lead Plaintiffs The Gabelli Asset Fund, The Gabelli Dividend & Income Trust, The

  Gabelli Focus Five Fund, The Gabelli Multimedia Trust Inc., The Gabelli Value 25 Fund

  Inc., GAMCO International SICAV, and GAMCO Asset Management Inc., (the “Gabelli

  Plaintiffs”); Naya 1740 Fund. Ltd., Naya Coldwater Fund Ltd., Naya Master Fund LP and

  Nayawood LP (the “Naya Group”); Additional Plaintiffs Oklahoma Firefighters Pension and

  Retirement System (“Oklahoma Fire,” and together with the Gabelli Plaintiffs and Naya

  Group, “Plaintiffs”); and Defendants Resideo Technologies, Inc., Michael G. Nefkens,

  Joseph D. Ragan III, and Niccolo de Masi (collectively, “Defendants”), filed a joint

  stipulation to extend the briefing schedule deadlines and request an increased word count

  (the “Joint Stipulation”). For the reasons stated in the Joint Stipulation, and for good cause

  shown, the Court GRANTS the Joint Stipulation.


         IT IS HEREBY ORDERED:


                 1.      Defendants shall file any motions to dismiss, or answer, or

          otherwise respond to the Class Complaint by July 10, 2020. Any accompanying
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       memorandum of law shall not exceed 18,000 words.

             2.    Plaintiffs shall file a response to Defendants’ motions to

       dismiss, if any, by September 9, 2020. The memorandum of law shall

       not exceed 18,000 words.

             3.    Defendants shall file their replies to Plaintiffs’ response, if any,

       by October 9, 2020. The memorandum of law shall not exceed 7,000 words.



                                             BY THE COURT:

Dated: _______________________               __________________________
                                             KATHERINE MENENDEZ
                                             United States Magistrate Judge




                                         2
